Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

Linda Goualy
J

 

 

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

-against-

Niet Unweesal

 

 

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

Complaint for Employment
Discrimination

‘GJH 220V1176

Case No.

 

(to be filled in by the Clerk’s Office)

Jury Trial: O Yes OJ No
(check one)
Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 2 of 8

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

 

 

 

 

 

Name Lindo Gough

Street Address (odo Ldts cena hve #30U9F
City and County Bethe sda, Meartosmessy

State and Zip Code Mt) 208 2Y Y 7

Telephone Number (2 ZYO) 205 ~Yooo

E-mail Address “Tinaesu nh 12 © yoNan com

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name La Qdvene Clotrey A\\ ica \ Unweeso

 

 

Job or Title Operstions Uda ageh.

(if known)

Street Address I4OD TL St NW ot OD
City and County \W\ ashine-tsn)

 

(

State and Zip Code “1c. 3o00 B
Telephone Number C 202 3255 - $3232

XQ
E-mail Address Lalienee: . cloHey avs -comM
(if known)
Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 3 of 8

Defendant No. 2

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

Defendant No. 3

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

(If there are more than three defendants, attach an additional page
providing the same information for each additional defendant.)

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s)

Name {\\ | \ ed ri el

Street Address IWOD - Stk NW Sue GOD
City and County Washineton

State and Zip Code “pc Sopo &
Telephone Number C A 02 ) 5234 — 2440
Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 4 of 8

Au The discriminatory conduct of which I complain in this action includes (check all
that apply):
0 Failure to hire me.

x
oD

(Note:

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.
Other acts (specify): intchde ten CL
U
Only those grounds raised in the charge filed with the Equal

Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

Der 2I9- Dec Jo]

C. I believe that defendant(s) (check one):

PO

is/are still committing these acts against me.

O is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and
explain):

SPR S ABS

race

 

color

 

gender/sex

 

religion

 

national origin

age. My year of birth is 4 4] . (Give your year of birth

only if you are asserting a claim of age discrimination.)

 

disability or perceived disability (specify disability)

 
II.

Il.

Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 5 of 8

Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that

apply):

Dm

Xx

x

O

O

Title VI of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
from the Equal Employment Opportunity Commission.)

Other federal law (specify the federal law):
eELSH

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim

and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.
Case 8:22-cv-01176-GJH Document 1 Filed 05/17/22 Page 6 of 8

E, The facts of my case are as follows. Attach additional pages if needed.

 

    
 

tf. Ziv Y OQCu i CL es
case af COUR ak p b
(Note: As additional support forthe facts of your cla, you may attach et this
complaint a copy of your charge filed with the Equal Employment Opportunity

menerente

Commission, or the charge filed with the relevant state or city human rights
division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment
Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

Magah '3 20a2

B. The Equal Employment Opportunity Commission (check one):

O has not issued a Notice of Right to Sue letter.
et issued a Notice of Right to Sue letter, which I received on (date)
MaZch 23, 2022.

(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

Ce Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

O 60 days or more have elapsed.
ye less than 60 days have elapsed.
Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 7 of 8

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

Reestohlish a ste csrth set schenluls .
LT unuld Leos

   
 

 

 

 
VI.

Case 8:22-cv-01176-GJH Document1 Filed 05/17/22 Page 8 of 8

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for

extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: May [Ft , 2022

a

Signature of Plaintiff
Printed Name of Plaintiff Lindlo TN Goual

 

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

For Attorneys

Date of signing: , 20

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

Telephone Number
E-mail Address

 

 

 

 
